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6                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
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9    IN RE INTUIT DATA LITIGATION                       Master Docket No. 15-CV-1778-EJD-SVK

10                                                      NOTICE OF CHANGE OF COUNSEL
                                                        AFFILIATION
11   THIS DOCUMENT RELATES TO:
     ALL ACTIONS
12                                                      Judge: Honorable Edward J. Davila

13

14

15          TO THE CLERK OF THE COURT, THE COURT, AND ALL PARTIES AND

16          THEIR ATTORNEYS OF RECORD:
17
            PLEASE TAKE NOTICE that pursuant to U.S. District Court, Northern District of
18
     California, Local Rule 5-1(c)(2) that the following attorneys have left the law firm of Milberg
19
     Tadler Phillips Grossman, LLP: (1) Ariana J. Tadler, Court-appointed Member of the Plaintiffs
20

21   Executive Committee (see ECF No. 39 (Stipulation and Pretrial Order No. 1)), and (2) Henry J.

22   Kelston. These attorneys are now affiliated with Tadler Law LLP.
23
            Ariana J. Tadler and Henry J. Kelston will continue to represent plaintiffs in this action at
24
     Tadler Law LLP, along with other counsel and court-appointed counsel in this case.
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             Case 5:15-cv-01778-EJD Document 197 Filed 06/18/19 Page 2 of 2



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     Dated: June 18, 2019                        Respectfully submitted,
2

3                                                /s/ Ariana J. Tadler
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9                                                Committee
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